        Case 1:16-cv-24687-KMW Document 301 Entered on FLSD Docket 10/02/2018 Page 1 of 1
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                                                      SOUTC RN DISTRICT OF FLOU A


                     EDGARDO LEBRON                                                                  TRTAT,
                                                                                                                 W ITN ESS LIST
                                 V.
                                                                                             CaseNum ber: 16-24687-CV-W 1LL1AM S/SEITZ
           ROYAL CARFRBEAN CRU ISES LTD .

PRESIDINGJIJEOE                                             PLAJNTTF'SATTORNEY                            DEFENDANT'S ATTORNEY
              PATRICG A                                           SpencerAroafeld,Esq.,           o arrerjw .Friedm an,Esq.,
                                .   SEITZ                   R     M att
                                                                      hias Ha yashi,Es q.,        R achelM .Fagenson,Esq.
                                                              aulDel ado Es .JavierJerez Es .
TRIALDATE(S)                                                COURTREPORTER                     COURTROOM DEPW Y
         September25,2018                                          C1.Pow ers/l.Felicetti             C.Foster/G .Gom ez
    PLF.    DEF. DATE           MADVND ADMITTED                                       DESCRD TION OFEO   ITSvAND W ITNESSF.
    NO,     NO. OFFERED                                                                                                    S

                                                                                                  MqTNESSES
                     9/28/18
                        &                                Edgardo Lebron,Plaintiff
                     10/1/18
    V                9/28/18                             M aritereM aldonado,W ife
    V                9/27/18                             Claudia 1.Lebron,Daughter
    V                9/28/18                             LaraC.Lebron,D aughter

                     9/26/18                            Dr.Jorge Roman-Deynes,Plaintiff'sTreating Physician l ideotapedDeposition)

    V                9/27/18                             TerryM acLaughlin,PlaintiffExpertW itress
    V                9/26/18                             Dr.YingLu,Plaintiff'sBiom edicalEngineeringExpertW im ess
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    V                /26/18         ..                  A manda Campos,Cop orateRepresentative forRoyalCaribbean Cruises
    V                9/1611$                            Dr.Abelltivera,ShipboardPhysician (VideotapedDeposition)
             V   .   10/2/18                            D avidFenie,Shipboard ChiefSafety Officer
                     10/1/18
                       &                                RonNoel,ShipboardStudioB Manager(W deotapedDeposition)
                     10/2/18
             V       10/1/18                            DavidW escott Defendant'sExpertW itness(viaVideo Conference)
             V       9/28/18                            Joseph Sala,Ph.D.,D efendant'sHum an FactorsExpertW itness




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